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                  IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                            DUBLIN DIVISION

TERESA POPE HOOKS, individually,
and ESTATE OF DAVID HOOKS, by
Teresa Pope Hooks, Administratrix,

Plaintiffs,
                                                          CASE NO:
VS.                                                 3:16-CV-00023-DHB-BKE

CHRISTOPHER BREWER, et al.,

Defendants.
___________________________________

          PLAINTIFF’S SUR-RESPONSE IN OPPOSITION
         TO DEFENDANT BREWER’S MOTION FOR LEAVE
   TO RENEW DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Plaintiffs respond to Defendant Brewer’s Reply Brief, Doc. 188, as follows:

       Plaintiffs’ initial Brief (Doc. 181: 1-3) objected to Brewer’s Motion because

it is untimely, it is not authorized by the Scheduling Orders jointly sought by

Brewer over the last year and because no reason is offered by Brewer for waiting

so long. Brewer fails to respond to the substance of Plaintiffs’ objection; Brewer

still fails to provide any reason for his delay in seeking leave to renew his motion

for summary judgment.

       Plaintiffs’ initial Brief argued that there has been no change of decisional

law nor change in the facts before this Court which warrant a renewal of Brewer’s

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Motion for Summary Judgement. (Doc. 182, 8-11) Despite Plaintiffs’ objection, in

his Reply Brief, Brewer continues to fail to point to any single change in decisional

law nor to any change in the evidence in the record before the Court which warrant

renewal of his Motion for Summary Judgment.

      Defendant’s Reply Brief makes clear that Brewer seeks leave to reassert his

“proximate cause” argument asking that this Court rule “as a matter of law,” Doc.

188:3, that there is “no legally actionable causal link,” id., between his securing of

a constitutionally invalid search warrant and the force used by his fellow deputies

to execute that warrant. Relying on Jackson v. Sauls, 206 F.3d 1156 (11th Cir.

2000) and County of Los Angeles, Calif. v. Mendez, 137 S. Ct. 1539 (2017), this

Court has already rejected Mr. Brewer’s argument.

      Respectfully submitted this 11th day of November, 2021.

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                         CERTIFICATE OF SERVICE


      I hereby certify that on November 11, 2021, I electronically filed the

attached with the Clerk of Court using the CM/ECF system and I caused to be

served upon the following counsel a true and correct copy of the foregoing by

delivering the same by first class mail, postage prepaid, to the following:

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